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MEMO ENDORSED

September 11, 2020

 

VIA ECF

| The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
Daniel Patrick Moynihan

500 Pearl Street

New York, New York 10007

Re: — Carroll v. Trump, 20-cy-07311 (LAK) (JLC)
Dear Judge Kaplan:

The parties have met and conferred pursuant to the Court’s order of September 10, 2020
(ECF 9).

The parties have agreed to the following briefing schedule:

e October 5, 2020: Deadline for|Plaintiff to file Opposition to Motion to Substitute,
or in the alternative, Motion to|Strike the Attorney General’s Certification;

e October 19, 2020: Deadline far the Government to file a reply brief in support of
its Motion to Substitute and |in Opposition to Plaintiffs Motion to Strike the
Attorney General’s Certification.

In addition, the parties have discussed Plaintiff's request for targeted discovery into
contextual facts concerning Defendant’s alleged defamatory statement issued on June 21, 2019.
The United States opposes Plaintiff's request for discovery. Plaintiff proposes that the parties
assess whether they can reach agreement on a stipulation. See e.g., Stipulation, ECF No. 30-
1, Knight Institute v. Trump, No. 17-CV-5205 (S.D.N.Y. Sept. 28, 2017). If that does not prove
possible, Plaintiff will promptly advise the Court so that any disputes over équested discovery
and any motions to modify the briefing schedule can be resolved ex

  

 
